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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :         Case No. 21-mj-689
                                               :     :
BRIAN HEALION, and                             :
FREEDOM VY,                                    :
                                               :
                                               :
                       Defendants.             :


                                              ORDER

       Based upon the representations in the Unopposed Motion to Continue and to Exclude Time

Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the motion is GRANTED; it is further

       ORDERED that the currently scheduled status hearing on February 2, 2023 is to be

continued for good cause to April 18, 2023 at 1:00 p.m.; and it is further

       ORDERED that the time between February 2, 2023 and April 18, 2023 shall be

excluded from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court

finds that the ends of justice served by the granting of such a continuance outweighs the best

interests of the public and the defendant in a speedy trial, as a continuance will provide the parties

additional time to review the voluminous discovery in this matter and discuss a potential resolution

of the case. No exclusion of time to hold a preliminary hearing under Federal Rule of Criminal

Procedure 5.1 is necessary because the defendants previously waived a preliminary hearing.

                                                                         Zia M. Faruqui
                                                                         2023.01.27 16:49:06 -05'00'

                                               THE HONORABLE ZIA M. FARUQUI
                                               UNITED STATES MAGISTRATE JUDGE
